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UNITED sTATEs D`ISTRICT COURT
wESTERN DISTRICT oF NEW YORK

 

sTEPHEN R. MACINTYRE AND
sCoTT E. sULLIvAN,_
Plaintiffs,

 

y _DECISION & ORDER
v. l§-cV-666O

JACK W. MOORE AND TOWN OF HENRIETTA,
Defendants.

 

Preliminary Statement

On_ October 30, 2015, prpg §§_ plaintiffs Stephen. R. Moore
(“Moore”) and Scott E. Sullivan (“Sullivan”) (collectively,
“plaintiffs”) commenced this action pursuant to the Fair Labor
Standards Act, 29 U.S.C. §§ 201-219 (“FLSA”). They filed an
amended complaint on September l5, 2017, which sought damages
against the Town of Henrietta (“the Town”) and its former
supervisor, Jack W. Moore (“Moore”} for violations of the FLSA and
'for unjust enrichment arising out of their employment with the
Town. Plaintiffs claimed, in sum, that they were employed by the
Town as inspectors with rthe Engineering Department but were
misclassified as independent contractors andy as a result, they
were not paid overtime wages to which they were entitled. Am.
Compl. (Docket # lB), at 4.

On September 29, 2018, the Honorable Elizabeth A. Wolford
dismissed plaintiffs’ unjust enrichment claim and their FLSA claim

against Moore in his official capacity. Plaintiffs’ FLSA claims

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against the Town and against Moore in his individual capacity were
permitted to proceed.

This Court set the matter down for a scheduling conference on
November 14, 2018. Defense counsel and Maclntyre appeared at the
COnfe`re'nce, but Sullivan did not. §§ Doc]<:et # 30. At the
conference, defendants made an oral offer to plaintiffs to settle
the case for $7,500, which they agreed to memorialize in writing
and. hold. open_ for‘ a gsufficient period_ of time to allow fboth
plaintiffs to respond. Anticipating the need for court approval
of the settlement agreement, the parties consented to magistrate
judge jurisdiction. _§ee_Docket # 31. ln mid-December, the parties`
notified the Court that they had agreed in writing to the
settlement.

This joint motion. to approve the settlement followed_ on
January 16, 2019. §ee_Docket # 33§ The settlement agreement (“the
Agreement”) is attached to the joint mption as Docket # 33»2. The
parties seek Court approval of the Agreement and for the stipulated
dismissal of the action with prejudice under Rule 4l(a)(l)(A)(ii)
of the Federal Rules of Civil Procedure. The Court held oral
argument on the motion on February 22, 2019, at which all parties

requested on the record that the Court approve the settlement.

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The following is my Decision and Order regarding the joint motion
for settlement approval.
Discussion

Legal Principles: “Parties cannot privately settle FLSA

 

claims with prejudice absent the approval of the district court or

the Department of Labor.” Lazaro-Garcia v. Sengupta Food Servs.,

 

NO. lB-Cv-4259, 2015 WL 9162701, at *l (S.D.N.Y. DeC. 15, 2015)

(citing Cheeks v. Freeport Pancake House, Inc., 796 F.Bd 199, 2016

 

(2d Cir. 2015)). To approve a settlement, the Court “must be
satisfied that the agreement is ‘fair and reasonable.’” Velasquez
V. SAFI-G, InC., 137 F. Supp. 3d 582,_584 (S.D.N.Y. 2015). IH

making such a determination, courts consider the “totality of the
circumstances” including:

(l) the plaintiff's range of possible recovery; (2) the
extent to which “the settlement will enable the parties
to avoid anticipated burdens and expenses in
establishing their respective claims and defenses”; (3)
the seriousness of the litigation risks faced by the
parties; (4) whether “the settlement agreement is the
product of arm's-length bargaining between experienced
counsel”; and (5} the possibility of fraud or collusion.

 

Wolinsky v. Scholastic Inc., 900 F. Supp. 2d 332, 335 (S.D.N,Y.

2012) (quoting Medley v. Am. Cancer Soc., No. lO CV 3214(BSJ),

 

2010 WL 3000028, at *l (S.D.N.Y. July 23, 2010)). Other faCtOrS,
however, may militate against settlement approval, such as:

(l) “the presence of other employees situated similarly
to the claimant”; (2) “a likelihood that the claimant's
circumstance will recur”; (3} “a history of FLSA non-
compliance by the same employer or others in the same

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industry or geographic region”; and (4) the desirability
of “a mature record” and “a pointed determination of the
governing factual or legal issue to further the
development of the law either` in general or in an
industry or in a workplace.”

Wolinsky, 900 F. Supp. 2d at 336 (quoting Dees v. Hydradry, Inc.,

 

706 F. Supp. 2d 1227, 1241 (M.D. Fla. 2010)). The Court concludes
that these factors weigh in favor of approving the Agreement.

The Factors Weigh_ in_ Favor~ of Settlement: The Court is

 

convinced that settlement amount of $7,500 is fair and reasonable
in light of the factors outlined above. Indeed, the settlement
amount reflects the entire amount of damages plaintiffs sought,
minus the claimed amount for fringe benefits and attorneys’ fees,
neither of which have been unsubstantiated. “Under the FLSA, any

employer that violates the requirement to pay minimum or overEime

wages ‘shall be liable . . . in the amount of their unpaid minimum
wages, or their unpaid overtime compensation . . . and an
additional equal amount 'as liquidated damages;” Beckert v.

Rubinov, NO. 15 Civ. 1951 (PAE), 2015 WL 6503832, at *l (S.D.N.Y.
Oct. 27, 2105) (quoting 29 U.S.C. § 216(b)).

MacIntyre alleges that he is owed 76 hours of overtime
totaling $807.75, and an equal amount of liquidated damages for a
total of $1,615.50. He further alleges that he incurred
approximately $318 in out-of-pocket expenses, and that he obtained
pre-complaint legal counsel, for which he paid $3,605. Because

this is a reimbursement for costs already paid, l do not treat it

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as an attorneys’ fee application. The Agreement would reimburse
MacIntyre for all of this alleged overtime, liquidated damages,
expenses, and legal fees. lt would also award Maclntyre $915.50
as an incentive for bringing this case and to compensate him for
legal advice he sought in connection with the Agreement.
Maclntyre’s total award under the Agreement is $6,454. Docket #
31-1, at 4-5. -

Under the Agreement, Sullivan will also receive all of his
alleged overtime and liquidated damages. He claims that he is
owed for 48 hours of overtime, totaling $523. With double damages,
Sullivan `is owed $1,046, the amount of his award_ under the
Agreement. Docket # 31-1, at 5. l

Because plaintiffs get essentially everything they ask for
under the Agreement, there is no doubt that it is in the range of
recovery. And because plaintiffs would likely not be able to'
recover more at trial; ending the litigation at this juncture
positions both. parties 'to save substantial attorney fees and
expenses that would be wasted if litigation were to continue.
Continuing with litigation in light of this would pose serious
risks to both parties.

Although plaintiffs are proceeding prp se in this action, I
find that the Agreement is the product of fair negotiation and
does not present an opportunity for fraud or collusion. At the

scheduling conference, the Court had an opportunity to discuss the

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settlement terms with MacIntyre, who indicated he wanted to pursue
settlement negotiations. At the oral argument on this joint
motion, the Court again engaged plaintiffs to ensure that they
understood the terms of the Agreement and believed them to be fair
and reasonable. Maclntyre indicated that he sought and received
legal advice regarding whether he should sign the Agreement and,
having done so, plaintiffs again requested that the Court approve
the settlement. I am satisfied that, based on my discussion with
plaintiffs on the record and the fact that they will receive what
they sought in their complaint, these factors militate against in
favor of approving the Agreement.

None of the Factors Weighing Against Settlement Apply: None

 

of the factors described above that weigh against settlement are
applicable here. The Court is not aware of any other employee who
is similarly situated to plaintiffs nor have plaintiffs raised an
argument that the Town and Moore were guilty of violations similar
to those alleged here with. other individuals. There is no
likelihood that the situation will recur because plaintiffs no
longer work for the Town and, at the conference, defense counsel
indicated that such work is no longer performed in the manner in
which plaintiffs performed it. Finally, there is no indication
that a “pointed determination” is necessary here for deterrence

purposes. lndeed, Moore is no longer supervisor of the Town.

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Mutual Non-Disparagement Clause: The Agreement contains a

 

non-disparagement clause 'that prohibits any' party' fronl making
statements that disparage another party. (“Although not all non-
disparagement clauses are per se objectionable, if the provision
would bar plaintiffs from making any negative statement about the
defendant’s it must include a carve-out for truthful statements
about plaintiffs' experience litigating their case.” §e§ Lazaro-
Garcia, 2015 WL 9162701, at *3. The clause here contains such a
carve-out for truthful statements, and is thus, permissible.

Mutual Release Clause: “Some courts scrutinizing FLSA

 

settlements have refused to approve settlements with broad
releases of claims, concluding that they conflict with the FLSA's

remedial purposes.” Lola v. Skadden, Arps, Meagher, Slate & Flom

 

LLP, No. 13-CV-5008, 2016 WL 922223, at *2 (S.D.N.Y. Feb. 3, 2016).
In_ the FLSA. context,` courts tend to reject broad. releases of

“unknown claims and claims that have no relationship whatsoever to

 

wage-and-hour issues.” lopez v. Nights of Cabiria, LLC, 96 F.
Supp. 3d 170, 181 (S.D.N.Y. 2015). Some courts go further and
reject release provisions “that extend[] beyond the claims at issue

in this action.” Martinez v. Gulluoglu LLC, No. 15 Civ. 2727

 

(PAE), 2016 WL 206474, at *2 (S.D.N.Y- Jan. 15, 2016).
Although the clause here does not require plaintiffs to
release defendants from claims unrelated to their employment, it

does require plaintiffs to release potential liability for other

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employment-related claims that they did not originally bring in
this action. For example, the Agreement would prohibit plaintiffs
from brining an action under New York Labor Law or additional
actions for recordkeeping violations, neither of which were raised
in the original or amended complaints. The clause states that
plaintiffs release defendants form claims related to “payment of
compensation, wages and wage and notice related recordkeeping

and complaints . . . arising from Plaintiffs' employment and/or
termination of employment and/or association with Jack Moore or
the Town.” Further, the release provision provides:

This release, discharge and waiver includes but is not

limited to: (i) any claims, demands, causes of action,

or complaints . . . arising out of or under the Fair

Labor Standards Act of 1938, as amended; the New York

Labor Law, as amended, as well as the regulations and

Wage Orders promulgated thereunder; and any other claim

arising from Plaintiffs’ employment and/or
termination of employment and/or association with Jack

Moore or the Town, including all claims asserted in the

Complaint and Amended Complaint.

Docket # 33-2, at 2-3.

The release here is similar to a clause approved by the
district court in Snead v. Interim HealthCare of Rochester, Inc.,
286 F. Supp. 3d 546 (W.D.N.Y. 2018). There, the plaintiffs brought
an FLSA action and sought approval of a settlement agreement that
included a clause that would have released defendants from

liability for ERISA and “any other claim . . . arising' from

Plaintiff’s employment and/or termination or employment and/or

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association with Defendant.” ld; at 555. The court approved the
clause because the plaintiff there was no longer an employee of
the defendant and the release was mutual.

Similarly, here, the release is mutual, plaintiffs no longer
work for the Town, and Moore is no longer supervisor. Both parties
appear resolved to put this litigation behind them and move on.
Furthermore, the claims that are subject of release are all
employment-related claims. In other words, the release provision
is not so broad as to include potential claims remotely or un-
linked to the claims at issue here. For these reasons, the Court
approves the release clause.

Conclusion

For the reasons set forth above, the parties' joint motion to
approve the settlement agreement and to dismiss the action (Docket.
# 33) is granted.

SO ORDERED.

 

 

ij JoNATHAN w. FELDMAN
n1 ed States Magistrate Judge

Dated: February 22, 2019
Rochester, New York

